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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In Re: COOK MEDICAL, INC., IVC      )
     FILTERS MARKETING, SALES            )
     PRACTICES AND PRODUCT               )
     LIABILITY LITIGATION                )                1:14-ml-02570-RLY-TAB
     ___________________________________ )                MDL No. 2570
                                         )
     This Document Relates to:           )
                                         )
     All Actions                         )
     ___________________________________ )


                                 ENTRY FOR JUNE 13, 2019

                               RICHARD L. YOUNG, JUDGE

          The parties appeared for a status conference. Plaintiffs were represented in person

   by Joe Williams, Ben Martin, Dave Matthews, and Mike Heaviside and specific plaintiffs

   were represented by telephone by Greg Pals, Chris Elliott, Hazel Chang, and Kori

   Westbrook; Defendants were represented by Andrea Pierson, Jessica Cox, Brian Paul,

   Kip McDonald, and Eldin Hasic. The agenda included the following motions:

   (1) Plaintiffs’ Steering Committee’s Bench Brief on Lexecon and the Bellwether

   Selection Process; (2) Defendants’ Motion for Entry of Amended Bellwether Selection

   Plan Protocol; (3) Defendants’ Motion for Judgment on the Pleadings in Category 2

   Cases for Failure to State a Claim; and (4) Defendants’ Motions to Dismiss regarding

   lack of service of Plaintiffs’ Profile Sheets. After hearing argument from counsel, the

   court issued the following rulings.

                                               1
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         • The court DENIED Plaintiffs’ Steering Committee’s Bench Brief on Lexecon 1

            and the Bellwether Selection Process (Filing No. 10715). There is no direct-filing

            order entered in this case which contemplates that cases filed here directly shall be

            remanded to the individual plaintiff’s home district for trial. Moreover, the parties

            agree that the Southern District of Indiana is the proper venue under 28 U.S.C. §

            1391. Consequently, the court has complete authority over cases originally filed

            in this court, just as it would over any other case originally filed in this district.

            This complete authority includes the authority to try such cases. Accordingly,

            there is no “Lexecon right” in 23 of the 24 Bellwether Discovery Pool cases that

            were filed in this court, and the parties are instructed to continue working up those

            cases under the terms of the current Bellwether Selection Plan Protocol (CMO-

            25).

         • The court took UNDER ADVISEMENT Defendants’ Motion for Entry of

            Amended Bellwether Selection Plan Protocol (Filing No. 10787). After hearing

            the court’s ruling on the Lexecon issue, Defendants stated they would confer with

            Plaintiffs and file an amended proposed order.

         • The court GRANTED in part and took UNDER ADVISEMENT in part

            Defendants’ Motion for Judgment on the Pleadings in Category 2 Cases for

            Failure to State a Claim (Filing No. 10856). Those cases listed in Exhibit A were

            GRANTED:



   1
       Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).
                                                    2
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                    Plaintiff     Cause Number          Lead Counsel


          Paschal, Linda           1:16-cv-01076    BARON & BUDD, P.C.
                                                    BACHUS &
          Kelly, Deborah           1:16-cv-01769    SCHANKER, LLC
                                                    MATTHEWS &
          Lenahan, Bill            1:17-cv-00023    ASSOCIATES
          Malugin, Bobby           1:17-cv-01470    BARON & BUDD, P.C.
                                                    RICHARD J. PLEZIA &
          Miller, Dean             1:17-cv-02699    ASSOCIATES
                                                    RICHARD J. PLEZIA &
          Mayernik, Sandra         1:17-cv-03321    ASSOCIATES
                                                    RICHARD J. PLEZIA &
          Schwantes, Arlyn         1:17-cv-03420    ASSOCIATES



         Those listed in Exhibit B were taken UNDER ADVISEMENT:


                 Plaintiff        Cause Number          Lead Counsel

          Gardner, Estella        1:17-cv-03004    THE DRISCOLL FIRM
          Key, Charles            1:17-cv-03005    THE DRISCOLL FIRM
          King, Martrie           1:17-cv-06069    THE DRISCOLL FIRM
          Rose, Penny             1:17-cv-06069    THE DRISCOLL FIRM
          Routh, Clarence         1:17-cv-06069    THE DRISCOLL FIRM
          Rubicine, Frank A.      1:18-cv-00510    THE DRISCOLL FIRM
          Graham, Carla           1:19-cv-00173    THE DRISCOLL FIRM
          Bunner II, Roger Carl   1:19-cv-01036    THE DRISCOLL FIRM
          Cockrell, Jerry         1:19-cv-01037    THE DRISCOLL FIRM



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          Dickey, Vicki              1:19-cv-01038     THE DRISCOLL FIRM
          Franklin, Dennis           1:19-cv-01042     THE DRISCOLL FIRM
          Jordan, James              1:19-cv-01068     THE DRISCOLL FIRM
          Remo, Glenda               1:19-cv-01074     THE DRISCOLL FIRM
          Sanchas, Mattie            1:19-cv-01078     THE DRISCOLL FIRM
          Sears, Donald              1:19-cv-01080     THE DRISCOLL FIRM
          Severa, Gary               1:19-cv-01144     THE DRISCOLL FIRM
          Ware, Betty                1:19-cv-01145     THE DRISCOLL FIRM


         The rest of the cases subject to Cook’s Motion for Judgment on the Pleadings are

         UNDER ADVISEMENT and will be addressed by separate order.

      • Defendants’ Motions to Dismiss regarding lack of service of Plaintiffs’ Profile

         Forms (Filing Nos. 10600 and 10615) will be addressed by separate order.

         The next status conference is scheduled for July 11, 2019.



   SO ORDERED this 14th day of June 2019.




   Distributed Electronically to Registered Counsel of Record.




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